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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


  WAPP TECH LIMITED PARTNERSHIP
  and WAPP TECH CORP.,

                 Plaintiffs,
                                                        C.A. No. 4:18-cv-00519-ALM
         v.

  BANK OF AMERICA, N.A.,                               JURY TRIAL DEMANDED

  Defendant.


                                              ORDER

         Before the Court is Defendant Bank of America, N.A.’s (“Defendant”) Unopposed

  Motion for Withdrawal (Dkt. #104) of Mark N. Reiter, Neema Jalali, Andrew William Robb,

  Jordan Bekier, Omar Farooq Amin, Ashbey N. Morgan, and the law firm of Gibson, Dunn &

  Crutcher LLP as counsel for Defendant. Having considered Defendant’s motion, and good

  cause appearing therefore,

         It is therefore ORDERED that the motion for withdrawal of Mark N. Reiter, Neema

  Jalali, Andrew William Robb, Jordan Bekier, Omar Farooq Amin, Ashbey N. Morgan, and the

. law firm of Gibson, Dunn & Crutcher LLP as attorneys of record for Defendant is GRANTED.

  The attorneys of Shelton Coburn LLP who have entered an appearance in this case shall remain

  as attorneys of record for Defendant.

         IT IS SO ORDERED.

          SIGNED this 25th day of June, 2020.




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                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
